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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                            )
                                                        )
 9                  Plaintiff,                          )
                                                        )
10           v.                                         ) 2:12-CR-453-APG-(GWF)
                                                        )
11 GREGORY RUIZ,                                        )
                                                        )
12                  Defendant.                          )
13                               PRELIMINARY ORDER OF FORFEITURE
14           This Court finds that on September 3, 2013, defendant GREGORY RUIZ pled guilty to Count

15 One of a Ten-Count Criminal Indictment charging him in Count One with Conspiracy to Distribute

16 Controlled Substances in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

17 Criminal Indictment, ECF No. 1; Bill of Particulars, ECF No. 74; Change of Plea Minutes, ECF No.

18 101; Plea Agreement, ECF No. 103.
19           This Court finds defendant GREGORY RUIZ agreed to the forfeiture of the property set

20 forth in the Forfeiture Allegations of the Criminal Indictment, the Bill of Particulars, and the Plea

21 Agreement. Criminal Indictment, ECF No. 1; Bill of Particulars, ECF No. 74; Change of Plea

22 Minutes, ECF No. 101; Plea Agreement, ECF No. 103.

23           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

24 America has shown the requisite nexus between property set forth in the Forfeiture Allegations of

25 the Criminal Indictment, the Bill of Particulars, the Plea Agreement and the offense to which
26 . . .




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 1 defendant GREGORY RUIZ pled guilty. Criminal Indictment, ECF No. 1; Bill of Particulars, ECF

 2 No. 74; Change of Plea Minutes, ECF No. 101; Plea Agreement, ECF No. 103.

 3          The following assets are subject to forfeiture pursuant to Title 21, United States Code,

 4 Section 853(a)(1), (a)(2), and (p):

 5                 1.      $18,290.00 in United States Currency;

 6                 2.      Real property and improvements situated at 6399 Briney Deep Avenue, Las

 7                         Vegas, NV 89139, more particularly described as Lot 48 in block 1 of

 8                         Pinnacle II at Pinnacle Peaks, as shown by map thereof on file in Book 106, of

 9                         Plats Page 93 in the office of the County Recorder of Clark County, Nevada,

10                         APN: 176-11-613-048;

11                 3.      $2,422.00 in United States Currency;

12                 4.      Gents stainless steel Rolex Oyster Perpetual Datejust wristwatch and band,

13                         black diamond dial, diamond bezel (aftermarket), 37mm case, model

14                         #1162234, serial #Z586603, Movement #3 1504912, 122.3 grams; and

15                 5.      Mid-size stainless steel Rolex Oyster Perpetual Datejust wristwatch and band,

16                         aftermarket diamond bezel, silver dial, luminous stick markers, date window,

17                         31.5mm case, movement #186547, model #178274, serial #D889431, 89.4

18                         grams

19 (collectively referred to herein as “property”);

20          This Court finds the United States of America is now entitled to, and should, reduce the

21 aforementioned property to the possession of the United States of America.

22          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

23 United States of America should seize the aforementioned property.

24          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

25 GREGORY RUIZ in the aforementioned property is forfeited and is vested in the United States of
26 America and shall be safely held by the United States of America until further order of the Court.

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 2 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 3   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

 4 the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

 5 the name and contact information for the government attorney to be served with the petition,

 6 pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 7          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

 8 filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

 9          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

10 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

11 following address at the time of filing:

12                  Daniel D. Hollingsworth
                    Assistant United States Attorney
13                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
14                  Las Vegas, Nevada 89101
15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

16 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

17 following publication of notice of seizure and intent to administratively forfeit the above-described

18 property.
19          DATED this ______          September
                        11th day of __________________, 2013.

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21                                                         __________________________________
                                                           UNITED STATES DISTRICT JUDGE
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 1                                        PROOF OF SERVICE

 2         I, Michelle C. Lewis, Paralegal Specialist, certify that the following individuals were served

 3 with copies of the Preliminary Order of Forfeiture on September 11, 2013, by the below identified

 4 method of service:

 5         CM/ECF:
 6         William H. Gamage
           Gamage & Gamage
 7         5580 South Fort Apache, Ste. 110
           Las Vegas, NV 89148
 8         Email: askmyattorney@yahoo.com
           Attorney for Gregory Ruiz
 9
           James Hartsell
10         Law Offices of James Hartsell
           720 S. 4th Street, Ste. 100
11         Las Vegas, NV 89101
           Email: james@hartselllaw.com
12         Attorney for Diana Ruiz
13         Chris T. Rasmussen
           Rasmussen & Kang LLC
14         330 S. Third Street, Ste. 1010
           Las Vegas, NV 89101
15         Email: rasmussenlaw@gmail.com
           Attorney for Rebekah Fouquet
16
           Daniel J. Albregts
17         Daniel J. Albregts, Esq.
           601 S. 10th Street, Ste. 202
18         Las Vegas, NV 89101
           Email: albregts@hotmail.com
19         Attorney for Allen Adams
20
                                                          /s/Michelle C. Lewis
21                                                        Michelle C. Lewis
                                                          Paralegal Specialist
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